      Case 3:18-cv-00045-DHB-BKE Document 99 Filed 10/27/20 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   DUBLIN DIVISION

RONALD B. GRAY,                              )
                                             )
              Plaintiff,                     )
                                             )
       v.                                    )          CV 318-045
                                             )
ANDRIA MAYBERRY,                             )
and THE TMG FIRM, LLC,                       )
                                             )
              Defendants.                    )
                                        _________

                                        ORDER
                                        _________

       On October 22, 2020, Defendant Mayberry entered her interrogatory responses on the

docket as ordered by the Court. (Doc. nos. 97, 98.) Because Plaintiff continues to assert he

never received the responses, and to remove all doubt and confusion, the Court DIRECTS

the CLERK to serve the responses, (doc. no. 98), on Plaintiff. The Court EXTENDS the

deadline for Plaintiff to respond to Defendants’ Motions for Summary Judgment, (doc. nos.

81, 88), through and including November 17, 2020, and allows Plaintiff to supplement his

Motion for Summary Judgment, (doc. no. 78), by that same date.

       SO ORDERED this 27th day of October, 2020, at Augusta, Georgia.
